                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                    Case No. 04-CR-241

NING WEN,

                       Defendant.


          ORDER DENYING DEFENDANT’S MOTION IN LIMINE TO
      PRECLUDE EVIDENCE OF DEFENDANT’S ACTS WHILE SERVING AS
            SCIENCE CONSUL FOR THE CHINESE CONSULATE


       Defendant Ning Wen is charged with conspiracy to violate various export restrictions in the

shipment of items to the People’s Republic of China. The nine-count indictment also charges Wen

with various related export and money laundering violations and with making a false statement to

an FBI agent in connection with the investigation. On September 2, 2005, Wen filed a motion to

preclude the government from introducing evidence of his conduct relating to the time period prior

to March 16, 1992, during which time Ning Wen enjoyed full consular immunity from the criminal

jurisdiction of the United States. Wen also seeks to exclude evidence of his alleged statement

understating his personal income during the relevant time period and his letter of resignation from

his position at the Chinese Consulate in 1992.

       The original conspiracy charge against Wen covered a time period that included a portion

of the time during which he was serving as a consular officer for the People’s Republic of China.

In response to Wen’s motion to dismiss all or a portion of the conspiracy charge on grounds of



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diplomatic immunity, the government filed a superseding indictment in which it narrowed the time

period during which the conspiracy is alleged to have occurred. The charge now excludes from

coverage any period of time during which Wen served as a consular officer. In his motion in limine,

however, Wen seeks to prevent the government from introducing any evidence of acts he is alleged

to have undertaken while he was still a consular official. He claims that admission of such evidence

would violate his right to diplomatic immunity under the Consular Convention between the United

States and the People’s Republic of China, U.S.-P.R.C., 33 U.S.T. 2973 (Sept. 17, 1980) (the

“Bilateral Convention”).

       Article 13(1) of the Bilateral Convention states “members of the consulate and their family

members shall be immune from the criminal jurisdiction of the receiving state,” i.e., the United

States. Of course, Wen is no longer a member of the Chinese Consulate, having resigned his office

on March 15, 1992, and having since become a United States citizen. Wen claims that the immunity

from criminal prosecution granted under the Bilateral Convention for actions taken by him in

connection with his duties continues indefinitely, and the government does not dispute his

contention. It was for that very reason that the government sought a third superseding indictment

limiting the conspiracy charge to the period after he left the consulate. The government argues,

however, that evidence of Wen’s conduct prior to his resignation is relevant to the conspiracy charge

in that it shows his knowledge of the export restrictions and the beginning of his relationship with

co-defendant Jian Guo Qu, which later blossomed into the charged conspiracy.

       I conclude that Wen’s motion to exclude such evidence should be denied. The treaty

provisions Wen relies upon do not support his argument that such evidence is inadmissible. The

Bilateral Convention provides diplomatic immunity for actions taken as a consular official; it does


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not create an evidentiary privilege that renders evidence of such conduct inadmissible at trial for

crimes committed by one who is no longer a consular official. Wen is not immune from prosecution

for crimes he committed after he left his position at the Chinese Consulate. Evidence that is

relevant to such crimes is admissible, even if it involves actions for which Wen could not be

prosecuted.

       Wen claims that Article 13(6) of the Bilateral Convention contains such a privilege. That

provision reads:

       Members of the consulate are under no obligation to give evidence concerning
       matters relating to the exercise of their official function or to produce official
       correspondence or documents. They are also entitled to decline to give evidence as
       expert witnesses with regard to the law of the sending state.

       In this case, the government is not forcing Wen to give evidence relating to his official

functions. Instead, the government seeks to introduce evidence already in its possession regarding

Wen’s acts prior to March 16, 1992, the date on which he resigned from the consulate. That

evidence is offered to show Wen’s knowledge of export license requirements and to demonstrate

the beginning of the business relationship between Wen and Qu, his co-defendant. The evidence

has clear relevance to the charges Wen is facing and, absent a clear rule prohibiting the use of such

evidence, Wen’s motion must be denied.

       Wen also seeks to exclude evidence of his resignation letter and understated personal

income. In the letter, Wen refers to a desire to continue to serve his country. Given the cold war

issues between the United States and the People’s Republic of China during this period of time,

Wen argues that the letter’s minimal probative value is substantially outweighed by its unfair




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prejudice. It’s introduction, he claims, will unfairly prejudice a jury to think that he was a

communist agent.

       Wen is charged with violating export restrictions on goods shipped to the People’s Republic

of China. The items that he shipped allegedly have potential military use for the PRC. While not

essential to guilt, the government presumably will attempt to establish possible motive Wen had for

involving himself in such conduct. Two possible motives arise: One is financial and the other is

love for the country of one’s birth. The letter may be relevant to whether Wen was motivated by

loyalty to his country of origin. While certainly not determinative of the issue, it clearly bears some

relevance. The government does not argue relevance on this basis, however, and it is not possible

to assess the potential prejudice on the record as it now stands. In addition, Wen argues that the

government is unable to authenticate the letter. Accordingly, this issue will remain under

advisement and the government will not present the letter or comment concerning it absent a further

ruling by the court.

       Wen also seeks to prevent the government from introducing evidence that he allegedly

understated his income in the 1990's. He claims that such evidence is irrelevant since it does not

make it more or less likely that he was involved in a conspiracy to violate the export regulations.

Depending on the amount of the understatement, however, Wen’s alleged understatement of income

may be relevant to count nine, the charge of making false statements to an FBI agent. In addition,

it may be relevant to the conspiracy count in that it supports the government’s theory that Wen was

attempting to understate his income so as to avoid detection. Again, its relevance will depend upon

the amount by which Wen actually understated his income. Slight discrepancies are not likely to

be relevant and may be unduly prejudicial. Because the extent to which the government claims Wen


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understated his personal income is not clear on the record before me, I will withhold ruling on this

issue as well. The government will refrain from presenting evidence or argument on the issue

absent further ruling from the court.

       For the reasons stated above, the motion to preclude evidence of Wen’s acts while he was

science officer for the Chinese Consulate (docket # 224) is denied. The motion to exclude evidence

of his resignation letter and his alleged understatement of his personal income (docket # 227) will

remain under advisement pending a more complete record.

       SO ORDERED.

       Dated this   12th    day of September, 2005.



                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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